      Case 3:07-cv-05944-JST Document 2260 Filed 12/11/13 Page 1 of 1



 1                               UNITED STATES DISTRICT COURT
 2                            NORTHERN DISTRICT OF CALIFORNIA
 3                                    SAN FRANCISCO DIVISION
 4
     RE CATHODE RAY TUBE (CRT)                         No. 07-cv-5944-SC
 5   ANTITRUST LITIGATION,                             MDL No. 1917
 6
     This Document Relates to:                         [PROPOSED] ORDER GRANTING
 7                                                     ADMINISTRATIVE MOTION TO FILE
     Sharp Electronics Corp, et al. v. Hitachi,        UNDER SEAL
 8   Ltd., et al., No. 13-cv-001173
 9

10
            Upon consideration of Thomson SA’s Administrative Motion to Seal portions of its
11
     Motion to Dismiss Sharp’s First Amended Complaint, the Declaration of Jeffrey S. Roberts in
12
     support thereof, and the Court’s Order Regarding Administrative Motion to Seal Portions of
13
     Plaintiffs’ First Amended Complaint [Dkt. No. 2211], and good cause appearing therefore:
14
            The Court hereby GRANTS Thomson SA’s motion to seal and orders that the portions of
15
     Thomson SA’s Motion to Dismiss Sharp’s First Amended Complaint that reference previously
16
     sealed portions of paragraph 196 of Sharp’s First Amended Complaint are properly sealable and
17
     shall be sealed.
18
            IT IS SO ORDERED.
19

20
     DATED:       December 11, 2013
21                                                Hon. Samuel Conti
                                                  United States District Judge
22

23

24

25

26

27

28
     [PROPOSED] ORDER GRANTING                                             No. 07-5944-SC; MDL No. 1917
     ADMINISTRATIVE MOTION TO FILE UNDER
     SEAL
